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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

                                           )
 SAN LUIS VALLEY ECOSYSTEMS                )
 COUNCIL, SAN JUAN CITIZENS                )
 ALLIANCE, WILDEARTH                       )
 GUARDIANS, and ROCKY                      )
 MOUNTAIN WILD                             )    Case No. 1:21-cv-02994-REB
                                           )
       Petitioners,                        )    UNOPPOSED MOTION TO INTERVENE
                                           )    BY TRAILS PRESERVATION ALLIANCE;
              v.                           )    BACKCOUNTRY DISCOVERY ROUTES;
                                           )    COLORADO SNOWMOBILE
 DAN DALLAS, in his official capacity      )    ASSOCIATION; AND THE COLORADO
 as Forest Supervisor for the Rio          )    500
 Grande National Forest; and UNITED        )
 STATES FOREST SERVICE, a federal          )
 agency of the United States               )
 Department of Agriculture,                )
                                           )
       Federal Respondents,                )
                                           )
 and                                       )
                                           )
 TRAILS PRESERVATION ALLIANCE;             )
 BACKCOUNTRY DISCOVERY                     )
 ROUTES; COLORADO                          )
 SNOWMOBILE ASSOCIATION; and               )
 THE COLORADO 500                          )
                                           )
       Applicants in Intervention.         )



       Pursuant to Fed. R. Civ. P. 24(a), the Trails Preservation Alliance, Backcountry

Discovery Routes, Colorado Snowmobile Association, and the Colorado 500 (collectively

“Recreationists”) move to intervene as of right in the above-captioned case as Intervenor-

Defendant. Alternatively, Recreationists move for permissive intervention pursuant to

Fed. R. Civ. P. 24(b). This Motion is accompanied by declarations in support of each

applicant-intervenor’s motion to intervene and a Proposed Order granting Recreationists’



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Motion to Intervene. Also, contemporaneously with this Motion to Intervene,

Recreationists submit their proposed Response to Petitioners’ Petition, pursuant to Fed.

R. Civ. P. 24.

       Prior to filing this Motion, counsel for Recreationists contacted Petitioners’ Counsel

and Federal Respondents’ Counsel to request their position, pursuant to Local Rule

7.1(a). Counsel for Federal Respondents stated that Federal Respondents do not oppose

this motion, subject to conditions to which Applicants in Intervention agree, which are

included in the Proposed Order accompanying this motion. Counsel for Petitioners stated

that Petitioners do not oppose this motion, subject to conditions to which Applicants in

Intervention agree, which are included in the Proposed Order accompanying this motion.

                                     INTRODUCTION

       This case centers around Petitioners’ efforts to set aside the revised Rio Grande

National Forest Plan (“Forest Plan” or “Revised Plan”) and Final Environmental Impact

Statement (“EIS”). Petitioners object in particular to the United States Forest Service’s

(“USFS” or “Forest Service”) alleged failure to distinguish adequately between

sustainable summer recreation and sustainable winter recreation in the course of

addressing sustainable recreation generally, with a focus on motorized recreation. ECF

No. 14 at 2. Petitioners allege that the USFS acted arbitrarily and capriciously and failed

to comply with the National Forest Management Act (“NFMA”) and its implementing

regulations when it approved the Forest Plan by: failing to include in the Forest Plan

components specific to the Uncompahgre fritillary butterfly, ECF No. 14 at 32; failing to

include adequate components specific to the Canada Lynx, ECF No. 14 at 37; failing to

include plan components specific to winter sustainable recreation, ECF No. 14 at 36; and




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inadequately restricting over-snow motorized vehicle use in violation of the Travel

Management Rule, ECF No. 14 at 14. They allege that USFS acted arbitrarily and

capriciously and violated the National Environmental Policy Act (“NEPA”) and its

implementing regulations by failing to take a hard look at the Forest Plan’s effects, ECF

No. 14 at 40, in various areas, ECF No. 14 at 40‒44, and by failing to analyze a

reasonable range of alternatives such as proposed Special Interest Areas that Petitioners

requested.

       The remedies they seek, however, are much broader than merely a requirement

that USFS revisit its consideration of specific plan components relating to, for example,

butterflies and lynx; they seek to have all “relevant and appropriate” portions of the Forest

Plan, the Record of Decision, and the EIS set aside. ECF No. 14 at 46. Even more

broadly, they ask that USFS and its agents be wholly enjoined “from implementing

projects and land management activities authorized by the Rio Grande National Forest

Land Management Plan” until such time as the court is satisfied that all alleged legal

deficiencies have been corrected. Id. They also raise the possibility of seeking additional

yet-unspecified preliminary or permanent injunctive relief. Id.

       Together, the Recreationist Applicants-in-Intervention work closely with one

another, with the Forest Service, and with other stakeholders to develop, fund, and

maintain the trail projects that make it possible for motorized recreational users to enjoy

appropriately designated portions of Rio Grande National Forest. See infra at 5-8. These

activities accord with the USFS’s multiple-use mandate for National Forests; outdoor

recreation was, in fact, the first listed purpose for which USFS is required to manage

forests (followed by range, timber, watershed, and wildlife and fish purposes) by the




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Multiple-Use Sustained Yield Act of 1960 (in addition to the purposes laid out at the time

of the national forests’ establishment). See 16 U.S.C. § 528.

        As discussed below, Petitioners’ requested relief, if granted, would directly and

indirectly interfere with Recreationists’ use and enjoyment of the forest, including by

preventing and/or delaying development and implementation of new trail projects and

maintenance and improvement of existing trail projects for motorized recreational users

of all seasons.

                                    BACKGROUND

I.      FACTUAL BACKGROUND

        The pre-existing Forest Plan for Rio Grande National Forest (”RGNF”) had been

in place since 1996, subject to some subsequent amendments. See U.S. DEP’T OF AG. &

FOREST SERV., RIO GRANDE NATIONAL FOREST LAND MANAGEMENT PLAN (2020). 1 In 2014,

RGNF was one of the first National Forests to undertake a plan revision pursuant to new

2012 forest planning regulations. After years of meetings, assessments, analysis, and

public comment, USFS authorized the 264-page Revised Plan 2 in a 70-page final Record

of Decision (“ROD”) 3 and 842-page final Environmental Impact Statement (“FEIS”) 4 in

2020.

        While motorized recreation is severely limited in Rio Grande National Forest,

relative to other national forests, by its vast existing Congressional wilderness




1https://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd776576.pdf.
2https://www.fs.usda.gov/nfs/11558/www/nepa/100663_FSPLT3_5291915.pdf.
3https://www.fs.usda.gov/nfs/11558/www/nepa/100663_FSPLT3_5316988.pdf.
4https://www.fs.usda.gov/nfs/11558/www/nepa/100663_FSPLT3_5256953.pdf  (Part I);
https://www.fs.usda.gov/nfs/11558/www/nepa/100663_FSPLT3_5256955.pdf (Part II).


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designations, it is a beloved and important use of the Forest for many of the citizens to

whom the Forest belongs. Jones Decl. ¶ 19.

              For many visitors, motor vehicles . . . represent an integral

              part of their recreational experience. People come to National

              Forests to ride on roads and trails in pickup trucks, ATVs,

              motorcycles, and a variety of other conveyances. Motor

              vehicles of a legitimate and appropriate way for people to

              enjoy their National Forests—in the right places, and with

              proper management.

Travel Management; Designated Routes and Areas for Motor Vehicle Use, 70 Fed. Reg.

68,264, 68,264 (Nov. 9, 2005) (codified at 36 C.F.R. pt. 212, 251, 261, and 295) (“Travel

Management Rule”). “The NFS is not reserved for the exclusive use of any one group,

nor must every use be accommodated on every acre. . . . such choices and evaluations

are best made at the local level[.]” Id.

       These motorized activities accord with the USFS’s multiple-use mandate for

National Forests; outdoor recreation was, in fact, the first listed purpose for which USFS

is required to manage forests (followed by range, timber, watershed, and wildlife and fish

purposes) by the Multiple-Use Sustained Yield Act of 1960 (in addition to the purposes

laid out at the time of the national forests’ establishment). See 16 U.S.C. § 528. “These

uses must be balanced, rather than given preference over one another.” Travel

Management Rule at 68,264.

II.    DESCRIPTION OF APPLICANTS IN INTERVENTION




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       The Trails Preservation Alliance (“TPA”) is a 501(c)(3) nonprofit organization

whose principal goal is to preserve the sport of motorized singletrack trail riding. See

Trails Preservation Alliance, 2021 Annual Report (2021). 5 TPA regularly supports all

forms of Off-Highway Vehicle (“OHV”) recreation. Id. It acts as an advocate for OHV

recreation and works to ensure that both USFS and the Bureau of Land Management

(“BLM”) allocate a fair and equitable percentage of access to trail riding on public lands.

Id. It educates user groups on trail etiquette and supports establishment and operation of

local off-road motorcycle clubs. Id. TPA commented extensively on the Forest Plan

Revision. 6 TPA leaders and the recreationists for whom it advocates regularly enjoy

motorized recreation within RGNF, and their enjoyment of RGNF will thrive or suffer as a

result of this dispute’s outcome. Riggle Decl. ¶¶ 6, 7, 9, 13. Don Riggle is the Director of

Operations for TPA. Riggle Decl. ¶ 3. Due to his physical limitations, motorized access is

the only form of access available to Mr. Riggle for recreation in RGNF. Riggle Decl. ¶ 7.

Scott Jones is a consultant with TPA and has represented it in working with the Forest

Service to develop and promote recreational projects in RGNF; he also enjoys motorized

recreation within RGNF. Jones Decl. ¶¶ 4, 8, 13, 17.

       Colorado Snowmobile Association (“CSA”) was established as the Colorado

Association of Snowmobile Clubs, Inc. in 1970, and eventually became the 501(c)(3)




5http://www.coloradotpa.org/wp-content/uploads/2022/04/2021TPAAnnualReport-

sm.pdf.
6Rio Grande National Forest Plan Revision Objection, Trails Preservation Alliance (Sept.
24,    2019),    https://www.coloradotpa.org/2019/09/24/rio-grande-national-forest-plan-
revision-objection.


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nonprofit Colorado Snowmobile Association in 2000. 7 CSA’s mission is to “Advance,

Protect, and Preserve the sport of snowmobiling in Colorado.” Id. It currently represents

36 local clubs, 27 of which groom their own portions of the nearly 3,000 miles system of

trails in Colorado. Id. Scott Jones is the Executive Director and immediate past president

of Colorado Snowmobile Association. Jones Decl. ¶ 3. TPA and CSA both desire to work

with USFS to plan and implement additional projects to enable motorized recreational

enjoyment of RGNF. Id. at ¶ 20.

       Backcountry Discovery Routes (“BDR”) is a non-profit advocacy organization that

creates off-highway routes for dual-sport and adventure motorcycle travel. 8 Its work

includes rider education, safety campaigns, and promoting responsible travel for

motorcyclists traveling in the backcountry, and it works with agencies and land managers

to keep trails and remote roads open for motorcycling. Id. Bill Whitacre is a board member

and Treasurer of BDR. Whitacre Decl. ¶ 3. He has spent a significant amount of time

working with the Forest Service to ensure responsible utilization and sustainable use of

natural resources. Id. at ¶ 10. His enjoyment of motorized recreation in RGNF, as well as

that of many others in the BDR community, may be adversely impacted by a ruling for

Petitioners in this matter. Id. at ¶ 6.

       The Colorado 500 Charities Fund is a nonprofit organization that uses its annual

Colorado 500 Ride to raise funds for schools, youth organizations, humanitarian

agencies, trail and forest agency alliances. 9 Janet Lohman is its President and Executive



7Colorado                           Snowmobile                      Association,
https://snowmobilecolo.com/content.aspx?page_id=22&club_id=45117&module_id=642
19 (last visited May 12, 2022).
8 https://ridebdr.com/mission/.
9 https://www.colorado-500.org/about.




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Director. Lohman Decl. ¶ 3. The Ride hosts an average of 250 participants for a 6-day

ride throughout Western Colorado, mainly through Gunnison, Rio Grande, and

Uncompahgre National Forests. Id. ¶ 4. The Colorado 500 advocates responsible trail

use and holds special use permits from USFS and the Bureau of Land Management. Id.

¶ 5. Since 1981, over 175 organizations and individuals have benefited from Colorado

500 charitable support, including schools, students who have received college

scholarships, local clubs such as 4-H, medical organizations, and riding groups. Id. ¶ 6.

Significant funds have also been dedicated to Forest Service grants, the Trail

Preservation Alliance, and search and rescue and emergency services organizations. Id.

Any restriction of or interference with motorized recreational activities or existing or new

trail projects on Rio Grande trails would adversely affect the 500 and its riders’ use and

enjoyment of RGNF, as well as its charitable activities, which depend on funds earned in

part from the ride’s route through RGNF. Id. at ¶ 7.

                                        ARGUMENT

I.     APPLICANTS SHOULD BE GRANTED INTERVENTION AS OF RIGHT.

       Federal Rule of Civil Procedure 24(a) allows a party to intervene where it “claims

an interest relating to the property or transaction that is the subject of the action, and is

so situated that disposing of the action may as a practical matter impair or impede the

movant’s ability to protect its interest, unless existing parties adequately represent that

interest.” Fed. R. Civ. P. 24(a). Therefore, “a nonparty seeking to intervene as of right

must establish (1) timeliness, (2) an interest relating to the property or transaction that is

the subject of the action, (3) the potential impairment of that interest, and (4) inadequate

representation by existing parties.” Kane Cty. v. United States, 928 F.3d 877, 889 (10th




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Cir. 2019). The Tenth Circuit in particular “follow[s] a somewhat liberal line in allowing

intervention,” Barnes v. Sec. Life of Denver Ins. Co., 945 F.3d 1112, 1121 (10th Cir. 2019)

(cleaned up), “and thus favors the granting of motions to intervene.” Kane Cty., 928 F.3d

at 890 (quoting W. Energy All. v. Zinke, 877 F.3d 1157, 1164 (10th Cir. 2017)). “The

central concern in deciding whether intervention is proper is the practical effect of the

litigation on the applicant for intervention.” Barnes, 945 F.3d at 1121 (quoting San Juan

Cty. v. United States, 503 F.3d 1163, 1193 (10th Cir. 2007) (en banc)). Moreover, “the

requirements for intervention may be relaxed in cases raising significant public interests.”

Kane Cty., 928 F.3d at 890 (quoting San Juan Cty., 503 F.3d at 1201).

       A party seeking to intervene as of right must also demonstrate Article III standing,

but only “if the intervenor wishes to pursue relief not requested by an existing party.” Kane

Cty., 928 F.3d at 886. Recreationists’ interests differ from those of the United States, but

they seek to intervene as Respondents, seeking the same denial of Petitioners’ requested

relief that the United States seeks. Since both the United States and Recreationists seek

denial of Petitioners’ requested relief (and thus to defend the Revised Plan),

Recreationists need not demonstrate Article III standing. See id. 10

       A.     APPLICANTS’ MOTION TO INTERVENE IS TIMELY.

       Timeliness of a motion to intervene “is assessed in light of all circumstances,

including the length of time since the applicant knew of his interest in the case, prejudice

to the existing parties, prejudice to the applicant, and the existence of any unusual



10 Even if Recreationists were required independently to demonstrate Article III standing,
they would easily satisfy such a requirement. See Kane Cty., 928 F.3d at 888 (allegation
of substantial risk that unfavorable outcome of litigation could result in additional traffic
that would diminish intervenors’ enjoyment of nearby wilderness sufficient to confer
standing).


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 circumstances.” Kane Cty., 928 F.3d at 890‒91. “Delay in itself does not make a request

 for intervention untimely.” Id. (cleaned up). “The most important consideration in deciding

 whether a motion for intervention is untimely is whether the delay in moving for

 intervention will prejudice the existing parties to the case.” 7C Charles Alan Wright et al.,

 Fed. Prac. & Proc. Civ. § 1916 (3d ed.). Moreover, “if the intervention will not delay the

 termination of the litigation intervention ordinarily will be allowed.” Id., citing Utah Ass’n of

 Ctys. v. Clinton, 255 F.3d 1246 (10th Cir. 2001) (motion to intervene two-and-a-half years

 after suit was filed was timely where only discovery, discovery disputes, and motions to

 dismiss on jurisdictional grounds had occurred prior to motion).

        Here, the existing parties have entered a joint case management plan setting out

 a briefing schedule which Recreationists have no interest in disturbing. See ECF No. 12

 at 3. Recreationists request to file their responsive brief on August 22, 2022, one week

 after Federal Respondents’ responsive brief is due under the proposed briefing schedule,

 and over a month before Petitioners’ reply brief (if any) is due under that schedule. See

 id. Recreationists stipulate (as reflected in their Proposed Order) that they do not seek to

 object to the administrative record filed by the government. Accordingly, the existing

 parties will suffer no delay nor any other form of prejudice from the timing of

 Recreationists’ intervention in this matter. The Motion is timely.

        B.     APPLICANTS HAVE A LEGAL INTEREST IN THE SUBJECT OF THIS
               ACTION THAT MAY BE IMPAIRED BY THE LITIGATION.

        The interest requirement demands that “an applicant must have an interest that

 could be adversely affected by the litigation.” Kane Cty., 928 F.3d at 891 (quotation marks

 and citation omitted). “As the Rule’s plain text indicates, intervenors of right need only an

 ‘interest’ in the litigation—not a ‘cause of action’ or ‘permission to sue.’” Jones v. Prince



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 George’s Cty., 348 F.3d 1014, 1018 (D.C. Cir. 2003). And that interest need not be in, but

 merely “relating to the property or transaction which is the subject of the action.” Kane

 Cty., 928 F.3d at 892 (alteration in original) (quoting San Juan Cty., 503 F.3d at 1200). A

 “history of advocating for the protection of . . . federal public lands,” as Recreationists

 have long advocated for protection of Forest lands dedicated to motorized recreational

 use, creates an interest in that may be impaired by the litigation if a party to the litigation

 seeks to limit that protection, as Petitioners here seek (both directly and indirectly)

 additional limits on motorized recreation areas of RGNF. See Kane Cty., 928 F.3d at 892.

 Recreationists therefore have a legal interest in the subject of this action.

        If the Court grants Petitioners’ requested relief, the Plan Revision will be set aside,

 and all land management activities authorized under it will be enjoined pending the

 Court’s satisfaction that Petitioners’ grievances are resolved. See ECF No. 14 at 46. This

 relief would preclude development of new motorized recreational projects. Lohman Decl.

 ¶ 7; Riggle Decl. ¶ 13; Jones Decl. ¶ 20. It would also limit maintenance of existing

 projects, placing them at risk of disrepair and abandonment. Whitacre Decl. ¶ 9; Jones

 Decl. ¶¶ 21, 22. Both Recreationists’ existing and potential future opportunities for use

 and enjoyment of RGNF would be impaired by these results. Id.

        C.     APPLICANTS’ INTERESTS ARE NOT REPRESENTED BY THE
               EXISTING PARTIES.

        Applicants-in-Intervention must show that their interests may not be adequately

 represented by the existing parties—here, by Federal Respondents. “This burden is

 minimal, and it is enough to show that the representation ‘may be’ inadequate.” Kane

 Cty., 928 F.3d at 892 (cleaned up). Where a party seeking to intervene and a

 representative party share “identical” interests, adequate representation is presumed. Id.



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 at 892. “But where the purportedly adequate representative . . . is a governmental entity,

 this presumption can be rebutted by the fact that the public interest the government is

 obligated to represent may differ from the would-be intervenor’s particular interest.” Id.

 (cleaned up). Moreover, “the possibility of divergence of interest need not be great in

 order to satisfy the burden of the applicants.” WildEarth Guardians v. U.S. Forest Serv.,

 573 F.3d 992, 996 (10th Cir. 2009) (cleaned up). And “[a]n intervenor need only show the

 possibility of inadequate representation.” Id. (emphasis in original).

        The fact that an intervenor shares the government’s objective of defending an

 agency’s decision does not establish adequate representation. WildEarth Guardians, 573

 F.3d 992. To the contrary, “the intervenor’s showing is easily made when the party on

 which the intervenor must rely is the government, whose obligation is the represent not

 only the interest of the intervenor but the public interest generally, and who may not view

 that interest as coextensive with the intervenor’s particular interest.” Id. (cleaned up).

 Here, Recreationists advocate for a very specific interest in the management of RGNF:

 defending motorized recreational uses. The government, by contrast, represents all

 citizens with any interest in the use of RGNF that falls within USFS’s multiple-use

 mandate; that mandate requires the weighing of many types of use that are competing

 and frequently incompatible. This is precisely the sort of possible conflict that the Tenth

 Circuit holds satisfies the inadequate representation showing. WildEarth Guardians, 573

 F.3d at 996. See also Kane Cty., 928 F.3d at 893 (intervention proper where “the

 government has multiple objectives and could well decide to embrace some of the

 environmental goals” opposed by intervenors). Recreationists thus satisfy the inadequacy

 standard.




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 II.    APPLICANTS SATISFY THE REQUIREMENTS FOR PERMISSIVE
        INTERVENTION

        Alternatively, Recreationists should be granted permissive intervention. Fed. R.

 Civ. Pro. 24(b)(1)(B) authorizes the court to permit intervention on a timely motion by any

 person who “has a claim or defense that shares with the main action a common question

 of law or fact.” Such intervention “is a matter within the sound discretion of the district

 court[.]” United Nuclear Corp. v. Cranford Ins. Co., 905 F.2d 1424,1427 (10th Cir. 1990).

 “Rule 24(b)’s timeliness requirement is to prevent prejudice in the adjudication of the

 rights of the existing parties,” and Recreationists’ motion presents no risk of such delay

 or other such prejudice. See supra at 9-10. And Recreationists have defenses to the

 claims asserted by Petitioners and to the relief being sought, which seeks to set aside the

 Forest Plan Revision and require creation of a new Forest Plan less friendly to

 Recreationists’ interests. Recreationists easily satisfy this standard, which “requires only

 that the intervenor’s claim or defense share a common question of law or fact with the

 main action.” 7C Charles Alan Wright et al., Fed. Prac. & Proc. Civ. § 1911 (3d ed.). Thus,

 at minimum, Recreationists requests that this Court grant them permissive intervention

 because their defenses to the claims asserted by Petitioners raise common questions of

 fact and law.

                                        CONCLUSION

        For the foregoing reasons, this Court should grant Recreationists intervention as

 of right, or, in the alternative, permissive intervention.




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       DATED: May 12, 2022.

                                   Respectfully submitted by:

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2022, I electronically filed the foregoing with the

 Court’s electronic filing system (CM/ECF) which will automatically cause a notification to

 be sent to the following counsel of record:

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